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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION




JOE HUNSINGER,                             )
                                           )
             Plaintiff,                    )
                                           )            CIVIL ACTION NO.
VS.                                        )
                                           )            3:13-CV-4405-G
AMERICAN CORADIUS                          )
INTERNATIONAL, LLC,                        )
                                           )
             Defendant.                    )




                              ORDER OF DISMISSAL

      Based on the stipulation of plaintiff Joe Hunsinger and defendant American

Coradius International, LLC, filed herein pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii),

      It is hereby ORDERED, ADJUDGED and DECREED that the above-entitled

action against American Coradius International, LLC is DISMISSED with prejudice.


January 22, 2014.

                                       ___________________________________
                                       A. JOE FISH
                                       Senior United States District Judge
